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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

   EQUAL EMPLOYMENT                                )               Case No. 8:21-CV-369
   OPPORTUNITY COMMISSION,                         )
                                                   )
                   Plaintiff,                      )           DEFENDANT’S REPLY IN
                                                   )           SUPPORT OF MOTION TO
           vs.                                     )               DISMISS IN PART
                                                   )             PLAINTIFF’S SECOND
   BNSF RAILWAY COMPANY,                           )            AMENDED COMPLAINT
                                                   )
                   Defendant.                      )


       Defendant BNSF Railway Company (“BNSF”) submits this Reply in Support of its Motion

to Dismiss in Part Plaintiff’s Second Amended Complaint.

                                        INTRODUCTION

       The Equal Employment Opportunity Commission (“EEOC”) has done nothing to show

that it satisfied the requirements the Court set out in its April 15, 2022 Order dismissing EEOC’s

claims on behalf of female employees other than Rena Merker. See (Doc. 28 at 15) (“Dismissal

Order”). As to the similarity pleading requirement, the agency lobs various allegations about a

wide range of alleged conduct but with no semblance of an effort to show that the same or similar

alleged conduct affected particular other individuals. Nor has the agency made any effort to show

that it satisfied the same-actor pleading requirement; instead EEOC appears to simply disagree

with the Court’s previous order on that issue. Finally, instead of pleading facts to indicate the size

of the group, as the Court required, EEOC simply argues that it has presented facts from which

BNSF could discern the total number of women in the jobs at issue but with zero indication of how

many of those women the agency is actually alleging were subjected to unlawful conduct.

       The Court did not set a high burden. That is especially so for a federal government agency

whose primary role is investigating and attempting to resolve claims before it files lawsuits.
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Indeed, EEOC is a uniquely situated plaintiff that has the ability, resources, and obligation to

thoroughly investigate before suing and to give fair notice when it does sue. EEOC’s unwillingness

or inability to plead the straightforward things the Court required shows that the agency likely took

a “sue first, ask questions later” approach, contrary to its express statutory mandate, and contrary

to its public role in which it should be pursuing justice, not “victory at all costs.” But more to the

point for the present motion to dismiss, the agency’s failure to satisfy the Court’s requirements

means that it has not adequately alleged a claim on behalf of a group of individuals. The Court

should therefore dismiss all claims on behalf of any individual other than Rena Merker.

                                           ARGUMENT

I.       EEOC HAS NOT SATISFIED THE PLEADING REQUIREMENTS FOR OTHER
         FEMALE EMPLOYEES.

         The first requirement for EEOC is to plead—sufficiently, with facts not conclusions—that

the other women “suffered similar acts of discrimination,” meaning they “suffered from the same

unlawful conduct perpetrated by the same actors (or group of actors) in the same time frame.”

Dismissal Order at 19-20. The agency unquestionably did not satisfy that standard. In contending

otherwise, EEOC barely addresses, if at all, BNSF’s arguments in its motion to dismiss as to why

the agency has not satisfied that standard. The Court should disregard that attempt to gloss over

the problems BNSF pointed out.

         A.     “Exemplar” Allegations

         BNSF acknowledged that EEOC’s allegations regarding the four exemplars provided, as

to those four women, some degree of greater specificity than the agency’s previous complaint.

BNSF then explained that those allegations nevertheless do not reflect that “all the female

employees referenced in the Amended Complaint suffered similar acts of similar discrimination

by the same actors during the same time frame” as required. Dismissal Order at 22. In particular,

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although the agency describes various instances of alleged conduct as to those four women, some

of the allegations do not include information about the actor or actors involved while some identify

specific actors but give no indication whether they were or were not involved in the other alleged

conduct involving the particular exemplar employee, much less any of the other exemplar

employees or Merker. See, e.g., Sec. Amend. Compl. ¶¶ 44-50, 53-56, 59-63, 64-71.

       In response, EEOC ignores BNSF’s argument entirely. The agency merges its discussion

of the claimed exemplars and the other female employees and focuses on the “similar

discrimination” aspect of the Court’s ruling. (Doc. 55) (“EEOC Response”) at 6-8. It only briefly

mentions the “same actors” requirement. Id. at 8. And it does that only through glossing over the

Court’s requirement, using the term “common group,” and citing paragraph 17 of the Second

Amended Complaint. Id. Paragraph 17 simply says that alleged actors are men who worked out of

the Alliance railyard in TY&E and Yardmaster positions and in supervisory and management jobs

with authority over those employees. See Sec. Amend. Compl. ¶ 17; see also id. ¶¶ 17-19. Those

allegations provide nothing from which it could be reasonably inferred that the same actors were

involved in the conduct alleged as to the four exemplar employees.

       In fact, EEOC appears to reject the Court’s standard—or at least admit it cannot satisfy

it—by stating that the focus of a sexual harassment claim “is not on a particular individual harasser

or harassers” but on “BNSF as a company.” EEOC Response at 8. To the contrary, sexual

harassment claims are highly individualized, in fact turning on specific conduct by specific actors

of which the company was aware but failed to remedy. But more than that, for purposes of the

pleading requirements, this Court has already established “that ‘persons aggrieved’ in § 2000e-5

refers to a group of employees that suffered similar discrimination by the same actors during the

same time frame as the charging party.” Dismissal Order at 18 (emphasis added). Without similar



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acts of discrimination being “perpetrated by the same actors (or group of actors) in the same time

frame” the EEOC has not sufficiently alleged a claim on behalf of a group of “persons aggrieved.”

Id. at 19-10. Thus, EEOC cannot just gloss over the issue of who it contends engaged in the alleged

conduct.

       As BNSF previously pointed out, the Second Amended Complaint strongly suggests that

the alleged conduct did not involve the same actors given that it includes some very specific

statements regarding certain male employees but fails to mention those same employees with

respect to the other alleged conduct. In any event, the agency has done nothing to satisfy that aspect

of the requirement to adequately plead a claim on behalf of the group of individuals it describes as

“exemplars.” Therefore, the Court should dismiss the claims as to those four alleged exemplar

employees.

       B.      Allegations Regarding “Other Female Employees”

       EEOC fares even worse as to the broad allegations it makes for “other female employees,”

which it defines as female employees other than Merker and the “exemplars.” See Sec. Amend.

Compl. ¶ 72. Other than simply declaring that it has alleged similar harassment, the agency does

little to satisfy that aspect of the pleading requirements as to women other than Merker and the

four “exemplars.” But the agency’s conclusory assertions and arguments do not satisfy the

pleading requirements.

       First, as BNSF pointed out—now without any response by EEOC—the section of the

Second Amended Complaint captioned “General Hostile Work Environment” (paragraphs 72-87)

contains allegations very close to, and in some cases identical to, those the Court previously held

were insufficient. Sec. Am. Compl. ¶¶ 72-87. Although the agency did add a few date references

to those allegations, the few dates provided are spread out over a period of March 2017 to 2020.



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Id. Moreover, the requirement of harassment in the same time frame is only one part of what the

agency must plead. It must also allege that the group of women suffered similar discrimination. In

other words, adding those few dates could not have resolved the problem the Court already

identified in dismissing the claims on behalf of other women.

       EEOC’s failure to meet the similarity requirement was one problem the Court previously

identified as a reason for dismissing those allegations: “Many of the EEOC’s allegations do not

say when the discriminatory acts occurred or explain which female employee experienced what

harassment.” Dismissal Order at 22 (emphasis added). True, there are various categories of

harassment described in the Second Amended Complaint, just as there were in the First Amended

Complaint. But just as before there is no indication which of the “other female employees” were

exposed to which category or type of conduct. And the conduct is largely dissimilar, with some

conduct described in general ways and other conduct very specific to only one or a small number

of female employees. For example, paragraphs 79, 80, 81, 84, and 85 refer to alleged actions that

appear to involve a specific woman, and each paragraph may or may not refer to the same woman.

Still other allegations refer to alleged conduct appears to involve to additional women but there is

no indication of “which female employee experienced what harassment.” Dismissal Order at 22.

And all of the allegations differ in the type of conduct involved. To say that those allegations assert

“similar” conduct is entirely unsupported and conclusory. In no way do the allegations tell BNSF

or the Court “who may have the statutory right to intervene.” Dismissal Order at 18.

       Second, another problem is the same one discussed above as to the exemplar employees:

there is no effort to show that the various instances of alleged conduct described in the “General

Hostile Work Environment” section were perpetrated by the same actors (either among those




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allegations or as to the conduct alleged as to Merker). 1 Many allegations appear to have involved

a single actor (e.g., paragraphs 79, 81, 84, 85, and 87) but there is no indication whether that actor

was or was not involved in allegations involving Merker (or the exemplar employees). Further,

although not contained in the “General Hostile Work Environment” section, paragraph 91 of the

Second Amended Complaint repeats an allegation about one alleged supervisory actor that the

Court expressly addressed in its previous order, and one that is outside of the time period EEOC

says it is relying on. See Dismissal Order at 22 n.6. In sum, EEOC saying “[m]any male TY&E

employees in the Alliance railyard” (EEOC Response at 8) tells neither the Court nor BNSF

anything about whether each allegation involved a different alleged perpetrator or a single person

or some identifiable small group of individuals. Just as with the “exemplar” employees, EEOC has

failed to even attempt to show that its pleadings involve alleged discrimination by the same actors.

        At bottom—and as should be expected given that the allegations in the “General Hostile

Work Environment” section track allegations the Court already said were insufficient—EEOC has

not come close to satisfying the requirements set out in the Court’s Dismissal Order as to the “other

female employees.” The new complaint “does not sufficiently allege that the other female

employees suffered discrimination that arose from the same unlawful conduct from the same actors

(or group of actors) in the same period.” Dismissal Order at 22. Accordingly, the Court should also

dismiss the allegations as to the “other female employees.”

II.     EEOC ALSO HAS NOT SATISFIED THE REQUIREMENT THAT IT INDICATE
        THE SIZE OF THE GROUP OF ALLEGED “PERSONS AGGRIEVED.”

        EEOC’s argument on the second requirement for pleading a claim on behalf of a group of

individuals fails to engage on the actual requirement the Court set out in the Dismissal Order.



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 EEOC’s assertion that it has provided the “identity of the alleged perpetrators,” see EEOC
Response at 3, is also incorrect. It has done no such thing.
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Specifically, the Court stated that the Complaint must “indicate[] the size of th[e] group.”

Dismissal Order at 19. EEOC argues that it satisfied that requirement because (1) it pleaded

information about the total number of female employees at any given time in the job categories at

issue; and (2) BNSF can “identify with its own records, the exact number of women who held

TY&E and Yardmaster positions during the actionable time period.” EEOC Response at 4. That

approach misses the mark.

       Taking the last point first, the Court did not say that the agency must provide enough

information so that BNSF can with some effort and information outside of the complaint piece

together the size of the group. It said the complaint must indicate the size of the group. It is not

sufficient to have a complaint merely set up a puzzle that BNSF must solve before it knows the

extent of its liability. The agency’s “figure it out” approach does not give BNSF fair notice of the

claim as required by the Court’s Dismissal Order.

       Even setting that problem aside, however, there is a more fundamental problem that spans

both of EEOC’s responses: the agency has not and does not purport to either state the actual size

of the group or even to provide sufficient information so that BNSF could on its own determine

the actual size of the group. That is because what EEOC has done is set up numbers from which it

says BNSF could determine the total number of female employees in TY&E and Yardmaster jobs.

That is a different matter than the size of the group EEOC is alleging was subjected to a hostile

work environment and for that reason fails to satisfy the size requirement of the Dismissal Order.

       EEOC’s own description of its pleading show its inadequacy. In its response, the agency

says that the “complaint identifies the scope of the potential aggrieved individuals.” EEOC

Response at 3 (emphasis added). It likewise claims that by including the time frame of March 23,

2017 to the present the complaint further narrows the scope of the “potential aggrieved



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individuals.” Id. at 4. The actual aggrieved individuals are described as whichever women “were

subjected to a severe or pervasive unwelcome, offensive hostile work environment.” Id.; see also

id. at 7 (similarly describing alleged aggrieved individuals based on whether or not they were

exposed to certain alleged conduct). The agency further acknowledges that what it has done is

provide (it claims) a “maximum number of potential aggrieved individuals.” Id. at 4-5. EEOC then

expressly confirms that it is not suing on behalf of all of the women in the specified jobs: “not

every woman who worked in these positions…may have suffered actionable harassment (given

the subjective nature of the analysis for each individual)….” Id.

       That approach is wholly inadequate. All EEOC has done is to plead the total number of

women in the relevant jobs and then to say that the number of women it contends were actually

subjected to actionable harassment—that is, the “persons aggrieved”—is some unknown subset of

the total. But the Court did not say EEOC need only provide BNSF with the outer limits of what

the group might be, something BNSF already could have figured out on its own at the time of the

first ruling. Nor did the Court say that EEOC could dodge the requirement by saying the actual

number of women it alleges are in the group is however many of the women in those jobs “were

subjected to a severe or pervasive unwelcome, offensive hostile work environment.” The answer

to that inquiry is precisely what EEOC is supposed to be pleading. EEOC is supposed to indicate

the size of the group the agency is alleging in fact was subjected to a hostile work environment—

that is, as the Court said, “the relative size of the group for which the EEOC is making a claim”

and “the number of people who are ‘persons aggrieved.’” Dismissal Order at 18, 19 (emphasis

added). EEOC’s approach leaves entirely open how many individuals EEOC contends are in the




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group it is alleging were treated unlawfully. That hedging does nothing to satisfy the Court’s

requirement. 2

        Just as with the First Amended Complaint, the Second “Amended Complaint gives the

Court no idea of the size of the group of female employees at issue in this suit.” Dismissal Order

at 22 (emphasis added). True, it may not be thousands. But neither BNSF nor the Court—nor, it

seems, the agency—knows whether the approximate number is 5, 6, or some number between 5

and greater than 25, depending on employee turnover from 2017 to the present. And with a

$300,000 damages cap per individual and certain potential monetary relief not subject to that cap,

the range is far too large to be said to provide BNSF with fair notice of its liability. Likewise, the

range is far too large for the Court to meaningfully apply a proportionality standard. See id. at 19.

EEOC’s failure to plead facts that indicate the size of the group of women it contends was

subjected to a hostile work environment again fails to satisfy the requirements the Court set out in

the Dismissal Order

        Finally, EEOC cites three cases it says support its view that it has pleaded enough. See

EEOC Response at 5. The agency had previously cited two of those cases in its brief before the

Court issued the Dismissal Order. (Doc. 17 at 6 & 22). 3 The Court already considered those cases,

neither of which involved the standard applicable for intervention on which the Court relied or the




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  Although Rule 23 requirements do not apply to EEOC, BNSF notes that the problem with
EEOC’s approach is similar to the manageability problem with a “fail-safe class,” a class definition
that incorporates a disputed liability element. See, e.g., Ford v. TD Ameritrade Holding Corp., 995
F.3d 616, 624 (8th Cir. 2021). Just as such a class is considered unmanageable (among other
problems) under Rule 23, it is insufficient to satisfy EEOC’s burden to provide pleadings that
indicate the size of the group at issue in the lawsuit.
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  See EEOC v. PMT Corp., 40 F. Supp. 3d 1122 (D. Minn. 2014); EEOC v. Original Honeybaked
Ham Co. of Ga., 918 F. Supp. 2d 1171 (D. Colo. 2013).
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pleading requirements this Court set out in the Dismissal Order. 4 The third case is just as unhelpful.

See EEOC v. 5042 Holdings Ltd., 2010 WL 148085 (N.D. W. Va. Jan. 11, 2010). It involved a

disfavored motion for a more definite statement, not a Rule 12(b)(6) motion to dismiss. And it

involved a different issue than the one now before the Court—whether EEOC had to individually

name each person on whose behalf it sued. Although BNSF previously argued that issue, the Court

declined to impose that requirement, and it is not the basis of BNSF’s present motion to dismiss.

At bottom, none of the three cases addresses the standards this Court set out in the Dismissal Order,

and therefore they do not support EEOC’s argument that it has satisfied those standards. Absent a

granted motion for reconsideration, EEOC cannot avoid complying with the Court’s requirements

by citing cases that applied a different standard or involved a different issue.

                                          CONCLUSION

        EEOC did not cure the problems that led the Court to dismiss the claims on behalf of

women other than Merker. Just as before, “the EEOC has failed to adequately plead that all the

female employees referenced in the [Second] Amended Complaint suffered similar acts of similar

discrimination by the same actors during the same time frame or indicated the size of this group”

as the Court concluded the agency must do. Dismissal Order at 22. The EEOC’s latest Amended

Complaint “makes it uncertain which female employees at BNSF could intervene, frustrates the

requirement that BNSF must have notice of the EEOC’s claim and the extent of its exposure to

liability, and would have a detrimental effect on efficiently adjudicating the EEOC’s suit.” Id. For


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 Moreover, the passage from the Original Honeybaked Ham case that EEOC relies on consists of
comments that out-of-circuit district court made in the course of rejecting Eighth Circuit precedent.
Then, the in-circuit PMT decision cited that passage—only with a “cf.” citation—after repeatedly
pointing out that PMT was a pattern-or-practice case, an entirely separate type of claim that was
not present in the Eighth Circuit precedent that Original Honeybaked Ham rejected and is not
present here. Thus, even if the Court were willing to entertain EEOC’s repeat reliance on those
cases to argue for a different standard, that reliance is misplaced on the merits.

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all those reasons, BNSF asks the Court to dismiss the claims in the Second Amended Complaint

on behalf of female employees other than Rena Merker, with no further leave to replead.

       DATED this 17th day of June, 2022.

                                                   BNSF Railway Company,
                                                   Defendant

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                            CERTIFICATE OF COMPLIANCE

       In accordance with NECivR 7.1(d), I hereby certify that this brief contains 3599 words,

which includes all text, including the caption, headings, footnotes, and quotations as determined

by Microsoft Word for Office 365.


                                            By:     /s/ Bryan P. Neal
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                               CERTIFICATE OF SERVICE

        I hereby certify that on the 17th day of June, 2022, I electronically filed the foregoing
Defendant’s Reply in Support of Motion to Dismiss in Part Plaintiff’s Second Amended
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